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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                  8:05CR50
                              )
          v.                  )
                              )
JAIME MARTINEZ-HERNANDEZ,     )                      ORDER
                              )
               Defendant.     )
______________________________)


          IT IS ORDERED that sentencing in this matter is

rescheduled for:

                Tuesday, November 15, 2005, at 9 a.m.

in Courtroom No. 5, Roman L. Hruska United States Courthouse,

Omaha, Nebraska, or as soon thereafter as may be called by the

Court.

          DATED this 4th day of November, 2005.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   _________________________________
                                      LYLE E. STROM, Senior Judge
                                      United States District Court
